Case 8:18-cv-02869-VMC-CPT Document 62 Filed 05/10/19 Page 1 of 6 PageID 735



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

THE HURRY FAMILY REVOCABLE
TRUST; SCOTTSDALE CAPITAL
ADVISORS CORPORATION and
ALPINE SECURITIES CORPORATION,
                                                             CASE NO.: 8:18-cv-02869
       Plaintiffs,

vs.

CHRISTOPHER FRANKEL,

      Defendant.
____________________________________/


  PLAINTIFFS’ MOTION TO MODIFY CASE MANAGEMENT AND SCHEDULING
                              ORDER

       Plaintiffs, The Hurry Family Revocable Trust, Scottsdale Capital Advisors and Alpine

Securities Corporation, (collectively “Plaintiffs”), by and through their undersigned attorney file

this Motion to Modify Case Management and Scheduling Order (“Motion”), and state the

following:

       1.      On January 11, 2019, the Court entered its Case Management and Scheduling

order, (Docket # 29), which established the following deadlines for this case:

               a.      Plaintiffs’ Disclosure of Expert Reports by May 31, 2019
               b.      Defendant Christopher Frankel’s (“Defendant”) Disclosure of Expert
                       Reports by June 28, 2019
               c.      Discovery to be completed by July 26, 2019;
               d.      Motions for Summary Judgment, Judgment on the Pleadings, Daubert,
                       and Markman Motions by August 23, 2019
               f.      Trial term begins on February 3, 2020.




                                                 1
Case 8:18-cv-02869-VMC-CPT Document 62 Filed 05/10/19 Page 2 of 6 PageID 736



       2.      On March 12, 2019, Defendant filed a Motion to Dismiss Plaintiffs’ First

Amended Complaint (Docket # 6), which was granted by the Court’s order entered April 26,

2019 (Docket # 47).

       3.      Pursuant to the Court’s instruction, the Plaintiffs filed their Second Amended

Complaint on May 10, 2019. (Docket # 59). Defendant’s response is due by May 31, 2019.

Plaintiffs believe that Defendant will file another Motion to Dismiss.

       4.      On January 15, 2019, Plaintiffs served interrogatories and requests for the

production of documents (“Discovery”) on Defendant. (See Docket # 39 & 40).

       5.      On February 14, 2019, Defendant responded to the Discovery and objected to

disclosing information or documents pertaining to his communications with clients of Plaintiffs;

his communications with financial institutions with whom Plaintiffs have close relationships,

and; his communications with the broker-dealers that Defendant was attempting to purchase.

(See Id.). Plaintiffs sought this discovery based on information and belief that Defendant has

unlawfully obtained and misused Plaintiffs’ confidential information to solicit Plaintiffs’ clients,

establish relationships with Plaintiffs’ financial institutions, and attempt to purchase and run his

own broker-dealer service. (See Docket # 26).

       6.      On March 26, 2019, Plaintiffs filed a Motion to Compel Defendant’s Responses

to Interrogatories and a Motion to Compel Defendant’s Responses to Requests for Production of

Documents. (Docket # 39 & 40).

       6.      On May 7, 2019, Magistrate Judge Christopher P. Tuite heard Plaintiffs’ Motions

to Compel. (Docket # 45). Judge Tuite advised the parties to further meet and confer after

Plaintiffs filed their Second Amended Complaint in an effort to independently resolve their

disputes. Judge Tuite requested that the parties file a Joint Notice on May 24, 2019 to advise the



                                                  2
Case 8:18-cv-02869-VMC-CPT Document 62 Filed 05/10/19 Page 3 of 6 PageID 737



Court whether the parties were able to resolve their disputes or if they need to amend their

motions and schedule a secondary hearing. (Docket # 58).

       7.       Plaintiffs anticipate that the services of an expert witness will be necessary to

opine on the value of the confidential information misappropriated and misused by Defendant.

However, an expert witness will not be able to render these opinions until after Plaintiffs receive

Defendant’s discovery responses and know the full scope of Defendant’s misappropriation and

misuse of their confidential information.

       8.       To ensure that its expert witness has the information necessary to render its

opinion prior to the exchange of Plaintiffs’ expert witness report, Plaintiffs request that this

Court modify the Case Management and Scheduling Order by:

                a.     extending Plaintiffs’ Disclosure of Expert Reports to June 25, 2019
                b.     extending Plaintiffs’ Disclosure of Expert Reports to July 26, 2019
                c.     allowing expert witness depositions to occur until August 16, 2019.

       9.       Granting Plaintiffs’ Motion will not affect the dispositive motions deadline or trial

date. All discovery will be completed prior to the dispositive motions deadline.

       10.      Plaintiffs will not use the granting of this modification in support of a motion to

extend or modify another date or deadline.

       11.      In filing this Motion, Plaintiffs are mindful of the fact that modifications to the

Case Management and Scheduling Order are generally disfavored by this Court, in accordance

with Local Rule 3.09 and Section B(2) of the Case Management and Scheduling Order.

Nevertheless, Plaintiffs believe that good cause has been shown to grant the requested

modification.

       12.      On May 8, 2019, Plaintiffs asked Defendant to stipulate to this Motion.

Defendant refused. Accordingly, Plaintiffs believe that Defendant will oppose this Motion.



                                                  3
Case 8:18-cv-02869-VMC-CPT Document 62 Filed 05/10/19 Page 4 of 6 PageID 738



                                  MEMORANDUM OF LAW

       Federal Rule of Civil Procedure 16 grants district courts the power to police their

dockets, including the imposition of deadlines. Mingo v. Sugar Cane Growers Co-Op of Florida,

864 F.2d 101, 102 (11th Cir. 1989). If a party, like the Plaintiffs here, diligently and timely

pursues it rights but for reasons other than its own negligence is unable to comply with a

scheduling deadline, the court should exercise its discretion and modify its scheduling order.

Payne v. Ryder Systems, 173 F.R.D. 537, 539 (M.D. Fla. 1997).

       Plaintiffs’ Motion sets forth a good cause basis for granting this modification. Plaintiffs

are not engaging in any type of delay tactic that would warrant denial of this Motion. Defendant

will not be prejudiced by the granting of this Motion. However, Plaintiffs will be prejudiced if

the Motion is not granted.

       Therefore, Plaintiffs respectfully request that the Court exercise its discretion and permit

the requested modification of the Case Management and Scheduling Order for the good cause

stated herein.

       WHEREFORE, Plaintiffs respectfully requests that this Court grant this Motion and

modify the Case Management and Scheduling Order so that (a) Plaintiffs’ Disclosure of Expert

Reports are due by June 25, 2019, (b) Defendant’s Disclosure of Expert Reports are due by July

26, 2019, and (c) expert witness depositions must be completed by August 16, 2019.


Dated this 10th day of May 2019

                                              /s/ Jordan Susman_____
                                              Charles J. Harder, Esq.
                                              Admitted Pro Hac Vice
                                              Jordan Susman, Esq.
                                              Admitted Pro Hac Vice
                                              HARDER LLP
                                              132 South Rodeo Drive, Suite 301

                                                  4
Case 8:18-cv-02869-VMC-CPT Document 62 Filed 05/10/19 Page 5 of 6 PageID 739



                                              Beverly Hills, CA 90212-2406
                                              Tel: (424) 203-1600
                                              Fax: (424) 203-1601
                                              Email: charder@harderllp.com
                                              Email: jsusman@harderllp.com

                                              -and-

                                              Kenneth G. Turkel, Esq.
                                              Florida Bar No. 867233
                                              Shane B. Vogt, Esq.
                                              Florida Bar No. 0257620
                                              BAJO | CUVA | COHEN | TURKEL
                                              100 North Tampa Street, Suite 1900
                                              Tampa, Florida 33602
                                              Tel: (813) 443-2199
                                              Fax: (813) 443-2193
                                              Email: kturkel@bajocuva.com
                                              Email: svogt@bajocuva.com



               RULES 37(a)(1) and 3.01(g) CERTIFICATION OF COUNSEL

       Pursuant to Rule 37(a)(1), Federal Rules of Civil Procedure, and Rule 3.01(g), Local

Rules for the Middle District of Florida, Plaintiffs conferred with Defendant in a good faith effort

to resolve this discovery dispute. However, the parties were unable to reach a resolution


Dated this 10th day of May 2019

                                              /s/ Jordan Susman
                                              Charles J. Harder, Esq.
                                              Admitted Pro Hac Vice
                                              Jordan Susman, Esq.
                                              Admitted Pro Hac Vice
                                              HARDER LLP
                                              132 South Rodeo Drive, Suite 301
                                              Beverly Hills, CA 90212-2406
                                              Tel: (424) 203-1600
                                              Fax: (424) 203-1601
                                              Email: charder@harderllp.com
                                              Email: jsusman@harderllp.com




                                                 5
Case 8:18-cv-02869-VMC-CPT Document 62 Filed 05/10/19 Page 6 of 6 PageID 740



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 10, 2019, the foregoing document was filed with the
Court’s CM/ECF system, which will send electronic notice to all counsel of record.
                                            /s/ Jordan Susman
                                            Attorney




                                               6
